Case Summary                                                                     https://www.iowacourts.state.ia.us/Efile/notify/cmsFullHistory.html?pa...
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         Case Number: LACV012760                   Case Title: ARIAS VS. CACTUS FARMS LLC
         Opened: 04-29-2020
         County: Clarke
         Case Type: EMPLOYMENT DISCRIMINATION          Status: Active   Judge:
         Prayer Amount: $.00
          Show/Hide Participants
                                        Plaintiff[s]                                                 Counsel of Record
            RIGOBERTO ARIAS                                                 DAVID RONALD ALBRECHT
            1836 DAISY LN
            OSCEOLA, IA 50213                                               MADISON ELIZABETH FIEDLER-CARLSON


                                       Defendant[s]                                                  Counsel of Record
            CACTUS FARMS, LLC
            1960 205TH AVE
            OSCEOLA, IA 50213
            business: (614) 342-7362

                 File Date                                                         Case History
         05-20-2020 11:21:00 AM    ACCEPTANCE OF SERVICE
         Plaintiff                 Filed by: DAVID RONALD ALBRECHT

         04-29-2020 10:14:00 AM    PETITION FILED: PETITION
         Plaintiff                 Filed by: DAVID RONALD ALBRECHT

         04-29-2020 10:14:00 AM    CIVIL ORIGINAL NOTICE
         Plaintiff                 Filed by: DAVID RONALD ALBRECHT




1 of 1                                                                                                                               6/5/2020, 11:25 AM
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                                                          DISTRICT COURT




                  IN THE IOWA DISTRICT COURT FOR CLARKE COUNTY


  RIGOBERTO ARIAS,                                     CASE NO. LACV012760

     Plaintiff,

  vs.
  CACTUS FARMS, L.L.C.,                                            ORIGINAL NOTICE

     Defendant.


TO THE ABOVE-NAMED DEFENDANT: CACTUS FARMS, L.L.C.
        You are notified that a Petition at Law has been filed in the office of the clerk of this
court naming you as the defendant in this action. A copy of the Petition is attached to this
notice. The attorneys for the plaintiff are David Albrecht and Madison Fiedler-Carlson of
Fiedler Law Firm, P.L.C., whose address is 8831 Windsor Parkway, Johnston, Iowa, 50131.
Their phone number is (515) 254-1999; facsimile number (515) 254-9923.


         You must serve a motion or answer within 20 days after service of this original notice
upon you and, within a reasonable time thereafter, file your motion or answer with the Clerk of
Court for Clarke County. If you do not, judgment by default may be rendered against you for
the relief demanded in the petition.


        If you require the assistance of auxiliary aids or services to participate in court because
of a disability, immediately call your district ADA coordinator at (515) 286-3394 (If you are
hearing impaired, call Relay Iowa TTY at 1-800-735-2942).




                                                 CLERK OF COURT
                                                 Clarke County Courthouse
                                                 Osceola, Iowa
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STATE OF IOWA JUDICIARY                                                      Case No.   LACV012760
                                                                             County     Clarke
Case Title    ARIAS VS. CACTUS FARMS LLC

    THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
Therefore, unless the attached Petition and Original Notice contains a hearing date for your appearance, or unless you obtain an
exemption from the court, you must file your Appearance and Answer electronically.

You must register through the Iowa Judicial Branch website at http://www.iowacourts.state.ia.us/Efile and obtain a log in and
password for the purposes of filing and viewing documents on your case and of receiving service and notices from the court.

FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING, REFER TO THE IOWA COURT RULES CHAPTER
16 PERTAINING TO THE USE OF THE ELECTRONIC DOCUMENT MANAGEMENT SYSTEM:
http://www.iowacourts.state.ia.us/Efile

FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




Scheduled Hearing:




If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your district
ADA coordinator at (515) 286-3394 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued   04/29/2020 03:43:51 PM




District Clerk of Clarke                     County

/s/ Lindsey Rissi
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                                                              DISTRICT COURT




                        IN THE IOWA DISTRICT COURT FOR CLARKE COUNTY


   RIGOBERTO ARIAS,                                                          CASE NO. LACV012760
         Plaintiff,
   vs.                                                                     PETITION and
                                                                          JURY DEMAND
   CACTUS FARMS, L.L.C.,
         Defendant.


           COMES NOW the Plaintiff Rigoberto Arias, and for his cause of action against Defendant

Cactus Farms, LLC, states the following:

                                              INTRODUCTION

           1.         This is an action under the Family Medical Leave Act (“FMLA”) challenging

Defendant’s illegal actions.

           2.         Plaintiff Rigoberto Arias is a resident of Clarke County, Iowa.

           3.         Defendant Cactus Farms, L.L.C. is an Iowa corporation doing business in Clarke

County, Iowa.

           4.         The acts of which Plaintiff complains occurred in Clarke County, Iowa.

                                             FACTUAL BACKGROUND

           5.         In April 2017, Defendant Cactus Farms hired Plaintiff Rigoberto Arias “Rigo” as a

herdsperson.

           6.         Rigo took care of piglets in the farrowing department and prepared them for

shipment.

           7.         On Friday, August 3, 2018, a Rigo’s wife Bianca suffered a severe migraine. Rigo

took Bianca to the emergency room, where she was hospitalized overnight.

           8.         Rigo stayed with his wife until she was discharged on the morning of August 4.




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       9.      Bianca required additional care, so Rigoberto called Cactus to report that he could

not come into work that day because he needed to care for his wife.

       10.     Rigo told his manager, Juan Galicia, that he needed to continue caring for Bianca and

he would update Cactus daily about his ability to return to work.

       11.     Galicia approved Rigo’s request and told Rigo to bring in a doctor’s note when he

came back to work.

       12.     Galicia did not tell Rigo about his rights under the FMLA to care for his wife due to

her serious health condition.

       13.     It was Cactus’ policy or practice that if employees called in sick, a doctor’s note was

required only for absences of two or more days.

       14.     It was also Cactus’ policy that employees could use sick days for anyone in their

families who were sick, as long as they brought in a doctor’s note if missing more than two days.

       15.     On Monday, August 6, 2018, Rigoberto told Galicia he needed to stay home because

Bianca was struggling with new migraine medication and their infant son was very sick.

       16.     Galicia never brought up the FMLA, never told Rigo he might be eligible for leave

under the FMLA, and never asked additional questions to determine whether Rigo’s leave would be

protected by the FMLA.

       17.     On Tuesday, August 7, Rigo used another sick day to care for his family. When he

called in, no one answered, so Rigo left a message on the “barn phone.”

       18.     Rigoberto returned to work on August 8, 2018.

       19.     When Rigo arrived, Galicia claimed Rigo had not properly notified Cactus of his

absences and issued Rigo a Corrective Action Form.

       20.     This form was written only in English.

       21.     Rigo cannot read in English.



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        22.    Defendant knows Rigo cannot read English.

        23.    Whenever Galicia and Rigo spoke, they spoke in Spanish.

        24.    Galicia spoke and explained the form to Rigo in Spanish.

        25.    Galicia told Rigo to sign the form, assuring him it was just a verbal warning and

would not affect Rigo’s employment in any way.

        26.    Rigo signed the document and went back to work.

        27.    Defendant did not provide Rigo a copy of the form translated into Spanish.

        28.    On approximately August 12, 2018, Rigoberto discovered that Defendant failed to

pay him for the three sick days he had used to care for Bianca.

        29.    He complained to Galicia, who promised to speak with management.

        30.    Around noon on Tuesday, August 14, Rigo received a call at work that his son was

very sick.

        31.    Rigo told Galicia, “My son is sick. I need to go pick him up, it’s kind of an

emergency.”

        32.    Galicia gave Rigo permission to leave.

        33.    Galicia did not bring up the FMLA.

        34.    Rigo picked up his son and took him to the emergency room, where he was treated

for vomiting and chronic constipation.

        35.    On August 15 and 16, Rigo stayed home to care for his son.

        36.    On both days, Rigo called Cactus to report his absences.

        37.    When Rigo returned to work on Friday, August 17, Galicia said, “What are you

doing here? You can’t come in. You’re fired.”

        38.    Rigo asked who made the decision to fire him.




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       39.     Galicia told Rigo “In that warning you signed, it was written that you couldn’t miss a

single day within 60 days.”

       40.     Galicia never told Rigo this provision was in the write-up.

       41.     Defendant follows a progressive disciplinary policy.

       42.     Defendant’s policy provides for escalating discipline, including a verbal warning, a

written warning, probation, suspension, and termination.

       43.     When Rigo was fired, he still had 5.12 days of paid sick leave available under

Defendant’s benefit plan.

       44.     Cactus never paid Rigo for the sick days he used to care for Bianca and his son.

       45.     Defendant never told Rigo of his rights under the Family Medical Leave Act to care

for his wife and son due to their serious health conditions.

       46.     Juan Galicia was an employee and agent of Defendant, acting at all material times

within the scope of his employment and agency.

                                       COUNT I
                      VIOLATION OF THE FAMILY MEDICAL LEAVE ACT
                                    INTERFERENCE

       47.     Plaintiff repleads paragraphs 1 through 46 as if fully set forth herein.

       48.     At all times material to this case, Defendant was an “employer” within the meaning

of the FMLA.

       49.     Beginning in April 2018, Plaintiff was an “eligible employee” within the meaning of

the FMLA.

       50.     In August 2018, Plaintiff provided Defendant notice that he needed leave to care for

his wife and son due to their serious health conditions.

       51.     Plaintiff’s notice reasonably apprised Defendant that the FMLA may apply.




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        52.     In August 2018, Defendant failed to notify Plaintiff of his eligibility to take FMLA

leave to care for his wife and son due to their serious health conditions.

        53.     Defendant failed to notify Plaintiff in writing whether his leave in August 2018

would be designated as FMLA leave.

        54.     Defendant did not provide Plaintiff written notice detailing Plaintiff’s obligations

under the FMLA.

        55.     Defendant did not notify Plaintiff of the specific amount of leave that would be

counted against his FMLA leave entitlement.

        56.     Defendant failed to provide Plaintiff with the protected leave required by the FMLA.

        57.     Defendant interfered with Plaintiff’s right to take leave under the FMLA.

        58.     In making the decision to fire Plaintiff, Defendant took into account leave protected

by the FMLA.

        59.     As a result of Defendant’s acts and omissions, Plaintiff has in the past and will in the

future suffer damages including lost wages and employment benefits.

        WHEREFORE, Plaintiff Rigoberto Arias demands judgment against Defendant Cactus

Farms in an amount that will fully and fairly compensate him for his injuries and damages, for

liquidated damages, for appropriate equitable and injunctive relief, including but not limited to

reinstatement, for interest as allowed by law, for attorneys’ fees and litigation expenses, for the costs

of this action, and for such other relief as may be just in the circumstances and consistent with the

purpose of the FMLA.



                                               JURY DEMAND

        COMES NOW the Plaintiff and requests a trial by jury.




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                               /s/ David Albrecht _____
                             FIEDLER LAW FIRM, P.L.C.
                             David Albrecht AT0012635
                             David@employmentlawiowa.com
                             Madison Fiedler-Carlson AT0013712
                             Madison@employmentlawiowa.com
                             8831 Windsor Parkway
                             Johnston, IA 50131
                             Telephone: (515) 254-1999
                             Facsimile: (515) 254-9923
                             ATTORNEYS FOR PLAINTIFF




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                                                              DISTRICT COURT




                    IN THE IOWA DISTRICT COURT FOR CLARKE COUNTY


 RIGOBERTO ARIAS,                                   CASE NO. LACV012760

       Plaintiff,

 vs.

 CACTUS FARMS, L.L.C.,                                    ACCEPTANCE OF SERVICE

       Defendant.


          The undersigned counsel hereby acknowledges receipt and accepts service of the Original

Notice and Petition and Jury Demand on behalf of the above-named Defendant. This

acknowledgement is taking place in Dallas, Texas, on the 20th day of May, 2020.




                                               ________________________________________
                                               Elizabeth Bones
                                               Mullin Hoard & Brown, LLP
                                               2515 McKinney Ave., Ste. 900
                                               Dallas, TX 75201
                                               bbones@mhba.com
                                               ATTORNEY FOR DEFENDANT
